






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00279-CV






In the Matter of A.W.






FROM THE COUNTY COURT AT LAW NO. 1 OF BELL COUNTY

NO. 63,487, HONORABLE EDWARD S. JOHNSON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant A.W. filed his notice of appeal May 1, 2009, and his brief with this Court
on February 10, 2010.  Appellant raised one issue in his brief which related to the trial court's order
that he pay court costs.  Appellee the State of Texas and appellant have notified this Court that
appellant's issue is moot because they submitted an agreed motion to the trial court requesting that
the previously ordered court costs be waived and the trial court granted the motion.  Given the trial
court's order waiving the previously ordered court costs, the parties have filed an agreed motion to
dismiss the appeal.  We grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a). 


						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed on Agreed Motion

Filed:   May 18, 2010


